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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION


 VIRNETX INC. AND                           §
 LEIDOS, INC.,                              §       Civil Action No. 6:12-cv-855-RWS
                                            §
        Plaintiffs,                         §
                                            §
 v.                                         §
                                            §
 APPLE INC.                                 §
                                            §       JURY TRIAL DEMANDED
        Defendant.                          §


                                           ORDER

        Before the Court is VirnetX Inc.’s Rule 50(a) Motion of at Least $1.20/Unit in Damages.

 After considering the briefing, the Court hereby GRANTS the motion.




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